                                                                                             FILED
                                                                                    2022 Mar-11 PM 02:41
                                                                                    U.S. DISTRICT COURT
                                                                                        N.D. OF ALABAMA


                          United States District Court
                          Northern District of Alabama
                               Office of the Clerk

                                   March 11, 2022

Earl P. Underwood                             Jeffrey Bartow Cannon, Jr.
Underwood & Riemer, PC                        Rudolph Woods Parker, Jr.
21 South Section Street                       Huie, Femambucq & Stewart, LLP
Fairhope, Alabama 36532                       2801 Highway 280 South, Suite 200
                                              Birmingham, Alabama 35243

      In re: Richard S. Byrd vs. Ford Motor Company, Civil Action No.
      3:19-cv-00398-CLS

Dear Counsel,

       I have been contacted by Judge C. Lynwood Smith, Jr., who presided in the
referenced action. Judge Smith informed me that it has been brought to his attention
that, while he presided over the case, his wife owned Ford Motor Company stock in
her IRA account. Her ownership of that stock neither affected nor impacted Judge
Smith's decisions in the case. Even so, his wife's ownership of that stock in her IRA
account would have required recusal under the Code of Conduct for United States
Judges. Accordingly, Judge Smith directed that I notify you of the conflict.

       Advisory Opinion 71, from the Judicial Conference Codes of Conduct
Committee, provides the following guidance for addressing disqualification that is
not discovered until after a judge has participated in a case:

      [A] judge should disclose to the parties the facts bearing on
      disqualification as soon as those facts are learned, even though that may
      occur after entry of the decision. The parties may then determine what
      relief they may seek and a court (without the disqualified judge) will
      decide the legal consequence, if any, arising from the participation of the
      disqualified judge in the entered decision.

      Even though Advisory Opinion 71 contemplated disqualification after oral
arguments in a Court of Appeals, the Committee explained that "[s]imilar
considerations would apply when a judgment was entered in a district court by a
judge and it is later learned that the judge was disqualified."

      With Advisory Opinion 71 in mind, you are invited to respond to Judge
Smith's disclosure of a conflict in this case. Should you wish to respond, please
submit your response on or before March 25, 2022. Any response will be considered
by another judge of this court without the participation of Judge Smith.

       Judge Smith has directed me to place a copy of this letter in the court's file in
the referenced action.




                                               Sharon Harris
                                               Clerk of Court
